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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

RONALD KOONS, et al.                              )
                                                  )   Civil Action No. 1:22-cv-07464-
                        Plaintiffs                )             RMB-AMD
                                                  )
     v.                                           )          CIVIL ACTION
                                                  )
WILLIAM REYNOLDS, et al.                          )   (ELECTRONICALLY FILED)
                                                  )
                        Defendants                )
                                                  )
-----------------------------------------------   )   CONSOLIDATED ACTIONS
                                                  )
AARON SIEGEL, et al.                              )
                                                  )
                       Plaintiffs,                )
                                                  )
       v.
                                                  )
MATTHEW PLATKIN, et al.                           )
                                                  )
                       Defendants.                )


   SUPPLMENTAL DECLARATION OF TIMOTHY VARGA IN
   FURTHER SUPPORT OF SIEGEL PLAINTIFFS’ MOTION FOR A
   PRELIMINARY INJUNCTION


       1.      I, Timothy Varga, am a plaintiff in the above-titled action. I am over

the age of 18, have personal knowledge of the facts and events referred to in this

Declaration, and I am competent to testify to the matters stated below.

       2.      In my previous declaration dated December 23, 2022, I indicated that I

had not yet received my permit to carry a handgun. However, since then I did receive
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my permit, and the date of issue is December 13, 2022, prior to the filing of the

Complaint in this action.

      3.       I am Northeast Regional Sales Executive for Ancra Cargo, Inc. I work

remotely from my home in Wall Twp. I am on the company’s Executive Committee.

      4.       Once per year, my employer schedules a national meeting of the

Executive Committee. This year the meeting is in North Carolina from June 12-15.

I am required to attend. I will be flying from Newark Airport, and I wish to bring

my handgun with me in accordance with the requirements of federal law. I am

licensed to carry my handgun in North Carolina. I would bring my handgun to

Newark Airport to transport in my checked baggage on my flight to North Carolina

in full compliance with federal law (49 C.F.R. § 1540.111); however, because of

Chapter 131 Section 7(a)(20) I will refrain from doing so for fear of arrest and

prosecution.

      5.       I have been seeing a chiropractor for treatment of my neck for many

years. Over the next 6 to 12 months I will go approximately weekly or bi-weekly for

such treatment. My chiropractor allows me to carry my handgun when I am there. I

would carry my handgun at these appointments; however, because of Chapter 131

Section 7(a)(21) I will refrain from doing so for fear of arrest and prosecution.
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